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                          UNITED STATES DISTRICT COURT
7
                         CENTRAL DISTRICT OF CALIFORNIA
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10    CHRISTINE F.,                               Case No. CV 20-2593-KK
11                            Plaintiff,
12                       v.                       JUDGMENT
13    ANDREW SAUL, Commissioner of
      Social Security,
14
                              Defendant.
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17         Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
18   decision of the Commissioner of the Social Security Administration is AFFIRMED.
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20    Dated: April 30, 2021
21                                           HONORABLE KENLY KIYA KATO
                                             United States Magistrate Judge
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